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   Case 2:15-ml-02668-PSG-SK Document 969 Filed 08/31/23 Page 2 of 4 Page ID #:37085


List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
       Case Number                                    Title o[Action                             Date o[Application         Granted I Denied?
5:20-cv-00355-DDP                        Gary Northrup v. Covidien, LP. et al                   09/02/2021                 Granted




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:
  NIA




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

          SECTION II - CERTIFICATION

          I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated 08/31/2023                                        Anastasia M. Pastan
                                                                                     ame (please type or print)




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SECTION III - DESIGNATION OF LOCAL COUNSEL
Sahni, Neema T.
Designee's Name (Last Name, First Name & Middle Initial)
Covington & Burling LLP
Firm/Agency Name

1999 Avenue of the Stars                                          (424) 332-4800                             (424) 332-4749
                                                                   Telephone Number                          Fax Number
35th Floor
Street Address                                                    nsahni@cov.com
Los Angeles, CA 90067                                             Email Address

City, State, Zip Code                                             274240
                                                                  Designee's California State Bar Number


I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated August 31, 2023                              Neema T. Sahni
                                                                  Des'     's Nam     lease type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

 I have been retained to represent the following parties (continued from Section I):
 Arizona Cardinals Holdings, Inc., Defendant; Atlanta Falcons Football Club LLC, Defendant; Baltimore Ravens Limited
 Partnership, Defendant; Buccaneers Limited Partnership, Defendant; Buffalo Bills, LLC, Defendant; Chargers Football Co.,
 LLC, Defendant; Chicago Bears Football Club Inc, Defendant; Cincinnati Bengals Inc, Defendant; Cleveland Browns;
 Football Company, LLC, Defendant; Dallas Cowboys Football Club Ltd, Defendant; Detroit Lions Inc, Defendant; Football
 Northwest LLC, Defendant; Green Bay Packers, Inc., Defendant; Houston NFL Holdings LP, Defendant; Indianapolis Colts
 Inc., Defendant; Jacksonville Jaguars LLC, Defendant; Kansas City Chiefs Football Club, Inc, Defendant; Miami Dolphins
 Ltd, Defendant; Minnesota Vikings Football Club LLC, Defendant; New England Patriots, LP, Defendant; New Orleans
 Louisiana Saints LLC, Defendant; New York Football Giants Inc, Defendant; New York Jets LLC, Defendant; Oakland
 Raiders LP, Defendant; PDB Sports Ltd, Defendant; Panthers Football LLC, Defendant; Philadelphia Eagles Football Club,
 Inc., Defendant; Pittsburgh Steelers Sports, Inc, Defendant; San Francisco Forty Niners II, LLC, Defendant; Tennessee
 Football, Inc., Defendant; The Rams Football Company LLC, Defendant; Washington Football, Inc., Defendant.




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              On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                              the District of Columbia Bar does hereby certify that



                                 Anastasia M Pastan
            was duly qualified and admitted on March 9, 2018 as an attorney and counselor entitled to
            practice before this Court; and is, on the date indicated below, an Active member in good
                                                standing of this Bar.




                                                                                  In Testimony Whereof,
                                                                              I have hereunto subscribed my
                                                                             name and affixed the seal of this
                                                                                    Court at the City of
                                                                           Washington, D.C., on August 30, 2023.




                                                                                  JULIO A. CASTILLO
                                                                                   Clerk of the Court




                                                              Issued By:


                                                                               David Chu - Director, Membership
                                                                              District of Columbia Bar Membership




       For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                           memberservices@dcbar.org.
